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                       EXHIBIT “A”




Defendant Everything Breaks, Inc’s Response and Objections to
            Plaintiff’s First set of Interrogatories.




                       EXHIBIT “A”
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11
                                      UNITED STATES DISTRICT COURT
12                                         DISTRICT OF NEVADA

13   STEPHAN CAMPBELL, on behalf of himself
     and all others similarly situated,                                  CASE NO.: 2:23-cv-00861
14
             Plaintiff,
15

16   v.

17   EVERYTHING BREAKS, INC.,
18         Defendant.
     ______________________________________/
19

20                DEFENDANT EVERYTHING BREAKS, INC.’S RESPONSES AND
                OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES1
21
             Defendant Everything Breaks, Inc. (“Everything Breaks”), by and through the undersigned
22
     attorneys and pursuant to the Federal Rules of Civil Procedure and the Local Rules of the United States
23

24   District Court for the District of Nevada, hereby serves the attached responses and objections to the

25   First Set of Interrogatories (“Interrogatories”) propounded by Plaintiff Stephan Campbell (“Plaintiff”),

26
     1
      By responding to these Interrogatories, Everything Breaks does not waive its right to file a Motion to Compel
27   Arbitration as a result of Plaintiff’s agreement to refrain from and waiver of all rights to participate in a class
     action, a class-wide arbitration, claims brought in a representative capacity, or consolidated claims involving
28   another person’s user data.
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 1   and responds as follows:
 2                                      PRELIMINARY STATEMENT
 3
            The following responses to the Interrogatories are made solely for the purpose of this action.
 4
     Everything Breaks has not completed its investigation of the facts relating to this case, discovery in
 5
     this action, or preparation for trial. All the responses contained herein are based only upon such
 6

 7   information and documents that are presently available, and specifically known, to Everything Breaks.

 8   Discovery is continuing and will continue as long as permitted by rule, statute, or stipulation of the

 9   parties to this action; and the investigation of Everything Breaks’ attorneys and agents will continue
10
     to and through any hearing, judicial proceedings, or trial in this action. It is anticipated that further
11
     discovery, independent investigation, legal research, and analysis will supply additional facts, which
12
     may, in turn, clarify and add meaning to know facts as well as establish entirely new factual matter,
13
     all of which may lead to substantial additions to, changes in, and variation from the contentions and
14

15   responses herein set forth.

16          The following responses to the Interrogatories are given without prejudice to Everything
17   Breaks’ right to produce evidence of any subsequently discovered documents, facts, witnesses, or
18
     information that Everything Breaks may later discover. Everything Breaks accordingly reserves the
19
     right to change any responses contained herein as additional documents are located, facts are
20
     ascertained, analyses are made, legal research is completed, and contentions are formulated.
21

22   Everything Breaks reserves the right, prior to or at the time of any hearing, judicial proceedings, or

23   trial to introduce any evidence from any source that hereafter may be discovered and testimony of

24   witnesses whose identities may hereafter be discovered.
25          The following responses to the Interrogatories are also given without prejudice to Everything
26
     Breaks’ right to produce any inadvertently omitted evidence and introduce such evidence at trial. Thus,
27
     to the extent consistent with the Federal Rules of Civil Procedure, local rules, case law, or court orders,
28
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 1   the following responses and objections are provided without prejudice to Everything Breaks’ right to
 2   produce evidence, documentary or otherwise, of any subsequently discovered facts and/or documents.
 3
            Except for facts expressly admitted herein, no incidental or implied admissions are intended
 4
     hereby. The fact that Everything Breaks has answered any Interrogatory should not be taken as an
 5
     admission that Everything Breaks accepts or admits the existence of any facts set forth or assumed by
 6

 7   such Interrogatory, or that such response constitutes admissible evidence. The fact that Everything

 8   Breaks has answered part of all of an Interrogatory is not intended and shall not be construed to be a

 9   waiver by Everything Breaks of all or any part of any objection to any Interrogatory.
10
            This Preliminary Statement is incorporated into each Interrogatory response set forth below.
11
                             OBJECTIONS TO CERTAIN “DEFINITIONS”
12                          CONTAINED WITHIN THE INTERROGATORIES

13          The following objections are made with respect to certain “Definitions” contained within the
14
     Interrogatories (“Definition Objection”). The failure to refer specifically to a Definition Objection in
15
     response to a specific Interrogatory shall not be construed as a waiver of that Definition Objection. In
16
     addition, the assertion of the same, similar, or additional objection(s) in response to a specific
17
     Interrogatory does not waive any Definition Objection as set forth more fully below.
18

19          1.      Everything Breaks objects to the definition of the terms “Defendant” and “You,” as set

20   forth in the Interrogatories as overbroad and unduly burdensome in that it irrelevant and seeks to
21   impose unreasonable discovery obligations on Everything Breaks. To the extent Everything Breaks
22
     responds to any of the Interrogatories mentioning the foregoing terms, Everything Breaks will only
23
     respond on its own behalf (not on behalf of its “past or present offices [sic], locations, divisions,
24
     affiliates, subsidiaries, successors, predecessors, partners, join venturers, officers, directors,
25

26   employees, agents, attorneys or representatives”) and interprets “Defendant” and “You” to mean only

27   Everything Breaks. Everything Breaks further objects to the definition of the foregoing terms to the

28   extent it calls for a legal conclusion and/or legal interpretation (e.g., “joint venturers,” “agents”), or
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 1   seeks to intrude upon the attorney-client communication privilege or work-produce doctrine (e.g.,
 2   “attorneys or representatives”). See generally, Maale v. Caicos Beach Club Charter, Ltd., No. 08-
 3
     80131-CIV, 2010 WL 272913, *8 (S.D. Fla. Jan. 15, 2010) (“The request is ambiguous insofar as it
 4
     seeks communications by the defendants ‘on behalf of the Project.’”); Starr Indem. & Liab. Co. v.
 5
     CSX Transportation, Inc., No. 3:14-CV-1455-J-39JBT, 2015 WL 12861172, *2 (M.D. Fla. June 1,
 6

 7   2015) (“Although ‘you’ is a defined term, the definition itself, ‘Plaintiff Starr Indemnity & Liability

 8   Co. a/s/o Efacec Power Transformers and any employees, agents, attorneys, representatives or other

 9   Persons acting on behalf of either or both of the foregoing’ . . . is vague and unclear in this context”).
10
            2.      Everything Breaks objects to the definition of the term “Describe” as overbroad and
11
     unduly burdensome in that it seeks to impose unreasonable discovery obligations on
12
     Everything Breaks.
13
            3.      Everything Breaks objects to the definition of the term “Identify” as overbroad and
14

15   unduly burdensome in that it seeks to impose unreasonable discovery obligations on Everything

16   Breaks and is beyond the scope of Federal Rule of Civil Procedure 34 (e.g., “describe what disposition
17   was made of it and give the name, address and telephone number of the person presently having
18
     possession of, custody or control of the document.”). Moreover, Everything Breaks objects to the
19
     definition of the term “Identify” as overbroad and unduly burdensome to the extent it seeks
20
     information and/or documents not in Everything Breaks’ possession, custody, or control.
21

22          4.      Everything Breaks objects to the definition of the term “Telemarketing” to the extent

23   it calls for a legal conclusion and/or legal interpretation. Everything Breaks also objects to the

24   definition of the term “Telemarketing” as vague, ambiguous, overbroad, and speculative (e.g., “that
25   could have generated or was intended to generate leads, customers or sales for you or any franchisee
26
     of yours within the United States.”).
27
            5.      Everything Breaks objects to the definition of the term “Vendor” to the extent it calls
28
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 1   for a legal conclusion and/or legal interpretation. Everything Breaks also objects to the definition of
 2   the term “Vendor” as vague, ambiguous, and overbroad; particularly compared to the definitions of
 3
     “Defendant” and “You,” which definitions include “employees,” as well as with the definition of
 4
     “Third party.”
 5
            6.        Everything Breaks objects to the “Relevant Time Period” as set forth in the
 6

 7   Interrogatories as overbroad, vague, beyond the scope of the allegations alleged in the Complaint, and

 8   irrelevant because it is not properly limited in time or scope to the extent the “Relevant Time Period”

 9   exceeds the applicable statute of limitations.
10

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        DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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 1                              RESPONSES AND OBJECTIONS TO
                           PLAINTIFF’S FIRST SET OF INTERROGATORIES
 2

 3          Subject to and without waiving the foregoing Objections and Definition Objections (set forth

 4   above), Everything Breaks specifically responds to the Interrogatories as follows:

 5          1.      Identify each person who provided the information to answer interrogatories in this
 6   case and specify the interrogatories about which each such person provided information.
 7
            RESPONSE: Subject to the following objections, Brandon San Antonio, in his capacity as
 8   the Chief Executive Officer of Everything Breaks, provided information to allow Everything
     Breaks to respond to and object to each of the Interrogatories. Everything Breaks answered
 9   each of the Interrogatories with the assistance of the undersigned attorneys. Everything Breaks
     may only be contacted through its counsel of record.
10

11          2.      Identify all employees or vendors involved in making outbound calls or text messages

12   promoting your goods and services and identify the individuals that made the calls and sent the text

13   messages at issue in this case. This includes, but is not limited to, (a) third parties that you contract
14
     with who make telemarketing calls or provide leads, and (b) the dialing system platform or provider
15
     used to make those calls or send text messages.
16
             RESPONSE: Subject to the following objections, Otto Quotes, LLC (“Otto Quotes”),
17   Capital Econ, S.C. DE R.I. DE C.V. (“Capital Econ”), Five9, Inc. (“Five9”), Roger Guerra, and
     John Foster may have been involved in the placement of telephone calls to Plaintiff. Pursuant to Fed.
18
     R. Civ. P. 33, Everything Breaks directs your attention to the documents produced in response to
19   Plaintiff’s First Request for Production to Defendant.

20          The objections that apply to this Interrogatory are as follows:
21           Everything Breaks objects to the definition of the term “You” as set forth more fully at
     Definition Objection No. 1.
22
             Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
23   Definition Objection No. 3.
24
             Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
25   Definition Objection No. 5.

26            Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the
     needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
27   or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
     calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
28
     were purportedly registered on the National Do Not Call Registry, without prior express written
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 1   consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
     However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint.
 2

 3          3.      Identify and describe the work of each employee or vendor identified in response to

 4   Interrogatory No. 2.

 5          RESPONSE: Subject to the following objections, pursuant to Fed. R. Civ. P. 33,
     Everything Breaks directs your attention to the documents produced in response to Plaintiff’s First
 6   Request for Production to Defendant.
 7
            The objections that apply to this Interrogatory are as follows:
 8
             Everything Breaks objects to the definition of the term “Describe” as set forth more fully at
 9   Definition Objection No. 2.
10
             Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
11   Definition Objection No. 3.

12           Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
     Definition Objection No. 5.
13
            Everything Breaks objects to the undefined term “work” as vague and ambiguous.
14

15            Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the
     needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
16   or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
     calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
17   were purportedly registered on the National Do Not Call Registry, without prior express written
     consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
18
     However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint.
19
            4.      Identify all third parties or sub-vendors used by your vendors to make calls or send text
20
     messages for you.
21

22          RESPONSE: The objections that apply to this Interrogatory are as follows:

23           Everything Breaks objects to the definition of the term “You” as set forth more fully at
     Definition Objection No. 1.
24
             Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
25   Definition Objection No. 3.

26           Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
     Definition Objection No. 5.
27
           Everything Breaks objects to this Interrogatory as vague, ambiguous, and
28
     incomprehensible/nonsensical (e.g., “used by your vendors to make calls or send text messages for
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 1   you.”).
 2             Everything Breaks objects to the undefined term “sub-vendors” as vague and ambiguous.
 3
              Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the
 4   needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
     or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
 5   calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
     were purportedly registered on the National Do Not Call Registry, without prior express written
 6   consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
 7   However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint.

 8             5.     Identify each of the individuals that spoke with Plaintiff from your company or any of

 9   its vendors.
10
             RESPONSE: Subject to the following objections and based on Everything Breaks’
11   investigation to date, Roger Guerra and John Foster may have been involved in the placement of
     telephone calls to Plaintiff and spoke with Plaintiff. Everything Breaks was not involved in placing
12   the alleged calls to Plaintiff, and therefore did not speak with Plaintiff. Pursuant to Fed. R. Civ. P. 33,
     Everything Breaks directs your attention to the documents produced in response to
13   Plaintiff’s First Request for Production to Defendant.
14
               The objections that apply to this Interrogatory are as follows:
15
             Everything Breaks objects to the definition of the term “You” as set forth more fully at
16   Definition Objection No. 1.

17           Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
     Definition Objection No. 3.
18
             Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
19   Definition Objection No. 5.
20             6.     If you contend that Plaintiff provided consent to receive solicitation telephone calls or
21
     text messages, state the material facts in support of that contention and identify the date(s) on which
22
     and the means by which you contend consent was obtained.
23
             RESPONSE: Subject to the following objections and based on Everything Breaks’
24   investigation to date, Otto Quotes, LLC (“Otto Quotes”), Capital Econ, S.C. DE R.I. DE C.V.
25   (“Capital Econ”), Five9, Inc. (“Five9”), Roger Guerra, and John Foster may have been involved in the
     placement of telephone calls to Plaintiff. Specifically, Everything Breaks understands that Capital
26   Econ placed calls to Plaintiff in May 2023, after Plaintiff expressly consented to the Terms of Service
     in accessing the ottoinsurance.com website, in which his cellular telephone number, as alleged at
27   Paragraph 33 of the Complaint [D.E. 1], was provided. Pursuant to the same Terms of Service, Plaintiff
     agreed to refrain from and waived all rights to participate in a class action, a class-wide arbitration,
28   claims brought in a representative capacity, or consolidated claims involving another person’s user
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 1           RESPONSE: The objections that apply to this Interrogatory are as follows:
 2            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
 3
              Everything Breaks objects to the definition of the term “Describe” as set forth more fully at
 4    Definition Objection No. 2.
 5            Everything Breaks objects to the definition of the term “Identify” as set forth more fully at
      Definition Objection No. 3.
 6

 7           Everything Breaks objects to the undefined terms “disciplined,” “reprimanded,” and
      “similar action” as vague and ambiguous.
 8
               Everything Breaks objects to this Interrogatory as vague, irrelevant, not proportional to the
 9    needs of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope
      or time frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing
10    calls to Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers
11    were purportedly registered on the National Do Not Call Registry, without prior express written
      consent. Thus, the Interrogatory should be limited to the allegations contained in the Complaint.
12    However, the Interrogatory does not seek to limit its scope to that alleged within the Complaint.

13           Dated: October 26, 2023.              Respectfully submitted,
14
                                                           PHILIP SILVESTRI
15                                                         Nv. Bar No. 11276
                                                           Email: philip.silvestri@gmlaw.com
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19                                                 By:     /s/ Jamey R. Campellone
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25
                                                           Attorneys for Everything Breaks, Inc.
26

27

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         DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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 1                                    CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on this 26th day of October 2023, a copy of the foregoing
 3    Responses and Objections to Plaintiff’s First Set of Interrogatories was served via email on all
      attorneys of record including: Craig K. Perry, Esq., 2300 W. Sahara Ave., Suite 800, Las Vegas,
 4    Nevada 89102 (cperry@craigperry.com), Chris R. Miltenberger, Esq., The Law Office of Chris R.
      Miltenberger, PLLC, 1360 N. White Chapel, Suite 200, Southlake, Texas 76092
 5    (chris@crmlawpractice.com), Eric H. Weitz, Esq. and Max S. Morgan, Esq., The Weitz Firm, LLC,
      1515 Market Street, #1100, Philadelphia, PA 19102 (eric.weitz@theweitzfirm.com,
 6    max.morgan@theweitzfirm.com), Attorneys for Plaintiff.
 7
                                                By:    /s/ Jamey R. Campellone
 8                                                     JAMEY R. CAMPELLONE

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 1                                          VERIFICATION PAGE

 2                                          By:

 3                                          Print Name:

 4                                          Title:

 5     STATE OF                                      )
                                                     ) SS:
 6     COUNTY OF                                     )

 7
             BEFORE ME, the undersigned authority, duly licensed to administer oaths and take
 8
      acknowledgments, personally appeared                                                  , who being by me
 9
      first duly sworn, deposes and says that he has read the foregoing answers to interrogatories, and that
10
      they are true and correct to the best of his knowledge.
11

12
             SWORN TO AND SUBSCRIBED before me this                            day of October, 2023.
13

14

15
                                                     Notary Public, State of
16
                                                     My Commission Expires:
17

18

19

20

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10
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11
                                       UNITED STATES DISTRICT COURT
12                                          DISTRICT OF NEVADA

13    STEPHAN CAMPBELL, on behalf of himself
      and all others similarly situated,                                  CASE NO.: 2:23-cv-00861
14

15             Plaintiff,

16    v.

17    EVERYTHING BREAKS, INC.,
18          Defendant.
19    ______________________________________/

20                          DEFENDANT EVERYTHING BREAKS, INC.’S
                     RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF
21                        REQUESTS FOR PRODUCTION OF DOCUMENTS 1
22             Defendant Everything Breaks, Inc. (“Everything Breaks”) by and through the undersigned

23    attorneys and pursuant to the Federal Rules of Civil Procedure and the Local Rules of the United States

24    District Court for the District of Nevada, hereby serves the attached responses and objections to the

25    First Set of Requests for Production of Documents (“Requests”) propounded by Plaintiff

26    1
       By responding to these Requests (and producing potentially responsive documents), Everything Breaks does
27    not waive its right to file a Motion to Compel Arbitration as a result of Plaintiff’s agreement to refrain from and
      waiver of all rights to participate in a class action, a class-wide arbitration, claims brought in a representative
28    capacity, or consolidated claims involving another person’s user data.
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                                REQUESTS FOR PRODUCTION OF DOCUMENTS                                       016
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 1    Stephan Campbell (“Plaintiff”), and responds as follows:

 2                                      PRELIMINARY STATEMENT

 3             The following responses to the Requests (the “Responses”) are made solely for the purpose of

 4    this Action. Everything Breaks has not completed its investigation of the facts relating to this case,

 5    discovery in this Action, or preparation for trial. All the Responses contained herein are based only

 6    upon such information and documents that are presently available, and specifically known, to

 7    Everything Breaks. Discovery is continuing and will continue as long as permitted by rule, statute, or

 8    stipulation of the parties to this Action; and the investigation of Everything Breaks’ attorneys and

 9    agents will continue to and through any hearing, judicial proceedings, or trial in this Action. It is

10    anticipated that further discovery, independent investigation, legal research, and analysis will supply

11    additional facts, which may, in turn, clarify and add meaning to known facts as well as establish

12    entirely new factual matters, all of which may lead to substantial additions to changes in and variation

13    from the Responses herein set forth.

14             The following Responses are given without prejudice to Everything Breaks’ right to produce

15    evidence of any subsequently discovered documents, facts, witnesses, or information that Everything

16    Breaks may later discover. Accordingly, Everything Breaks reserves the right to change any Responses

17    contained herein as additional documents are located, facts are ascertained, analyses are made, legal

18    research is completed, and contentions are formulated. Everything Breaks reserves the right, prior to

19    or at the time of any hearing, judicial proceeding, or trial to introduce any evidence from any source

20    that hereafter may be discovered and testimony of witnesses whose identities may hereafter be

21    discovered.

22             The following Responses are also given without prejudice to Everything Breaks’ right to

23    produce any inadvertently omitted evidence and introduce such evidence at trial. Thus, to the extent

24    consistent with the Federal Rules of Civil Procedure, local rules, case law, or court orders, the

25    following Responses are provided without prejudice to Everything Breaks’ right to produce evidence,

26    documentary or otherwise, of any subsequently discovered facts and/or documents.

27             Except for facts expressly admitted herein, no incidental or implied admissions are intended

28    hereby. The fact that Everything Breaks has responded to any Request should not be taken as an
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 1    admission that Everything Breaks accepts or admits the existence of any facts set forth or assumed by

 2    such Request, or that any of the Responses constitute admissible evidence. The fact that Everything

 3    Breaks has responded to part or all of a Request is not intended and shall not be construed to be a

 4    waiver by Everything Breaks of all or any part of any objection to any Request.

 5             This Preliminary Statement is incorporated into each Response set forth below.

 6                             OBJECTIONS TO CERTAIN “DEFINITIONS”
 7                               CONTAINED WITHIN THE REQUESTS
               The following objections are made with respect to certain “Definitions” contained within the
 8
      Requests (“Definition Objection”). The failure to refer specifically to a Definition Objection in
 9
      response to a specific Interrogatory shall not be construed as a waiver of that Definition Objection. In
10
      addition, the assertion of the same, similar, or additional objection(s) in response to a specific
11
      Interrogatory does not waive any Definition Objection as set forth more fully below.
12
               1.     Everything Breaks objects to the definition of the terms “Defendant” and “You,” as set
13
      forth in the Requests as overbroad and unduly burdensome in that it irrelevant and seeks to impose
14
      unreasonable discovery obligations on Everything Breaks. To the extent Everything Breaks responds
15
      to any of the Requests mentioning the foregoing terms, Everything Breaks will only respond on its
16
      own behalf (not on behalf of its “past or present offices [sic], locations, divisions, affiliates,
17
      subsidiaries, successors, predecessors, partners, join venturers, officers, directors, employees, agents,
18
      attorneys or representatives”) and interprets “Defendant” and “You” to mean only Everything Breaks.
19
      Everything Breaks further objects to the definition of the foregoing terms to the extent it calls for a
20
      legal conclusion and/or legal interpretation (e.g., “joint venturers,” “agents”), or seeks to intrude upon
21
      the attorney-client communication privilege or work-produce doctrine (e.g., “attorneys or
22
      representatives”). See generally, Maale v. Caicos Beach Club Charter, Ltd., No. 08-80131-CIV, 2010
23
      WL 272913, *8 (S.D. Fla. Jan. 15, 2010) (“The request is ambiguous insofar as it seeks
24
      communications by the defendants ‘on behalf of the Project.’”); Starr Indem. & Liab. Co. v. CSX
25
      Transportation, Inc., No. 3:14-CV-1455-J-39JBT, 2015 WL 12861172, *2 (M.D. Fla. June 1, 2015)
26
      (“Although ‘you’ is a defined term, the definition itself, ‘Plaintiff Starr Indemnity & Liability Co. a/s/o
27
      Efacec Power Transformers and any employees, agents, attorneys, representatives or other Persons
28
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 1    acting on behalf of either or both of the foregoing’ . . . is vague and unclear in this context”).

 2             2.      Everything Breaks objects to the definition of the term “Describe” as overbroad and

 3    unduly burdensome in that it seeks to impose unreasonable discovery obligations on

 4    Everything Breaks.

 5             3.      Everything Breaks objects to the definition of the term “Identify” as overbroad and

 6    unduly burdensome in that it seeks to impose unreasonable discovery obligations on Everything

 7    Breaks and is beyond the scope of Federal Rule of Civil Procedure 34 (e.g., “describe what disposition

 8    was made of it and give the name, address and telephone number of the person presently having

 9    possession of, custody or control of the document.”). Moreover, Everything Breaks objects to the

10    definition of the term “Identify” as overbroad and unduly burdensome to the extent it seeks

11    information and/or documents not in Everything Breaks’ possession, custody, or control.

12             4.      Everything Breaks objects to the definition of the term “Telemarketing” to the extent

13    it calls for a legal conclusion and/or legal interpretation. Everything Breaks also objects to the

14    definition of the term “Telemarketing” as vague, ambiguous, overbroad, and speculative (e.g., “that

15    could have generated or was intended to generate leads, customers or sales for you or any franchisee

16    of yours within the United States.”).

17             5.      Everything Breaks objects to the definition of the term “Vendor” to the extent it calls

18    for a legal conclusion and/or legal interpretation. Everything Breaks also objects to the definition of

19    the term “Vendor” as vague, ambiguous, and overbroad; particularly compared to the definitions of

20    “Defendant” and “You,” which definitions include “employees,” as well as with the definition of

21    “Third party.”

22             6.      Everything Breaks objects to the “Relevant Time Period” as set forth in the Requests

23    as overbroad, vague, beyond the scope of the allegations alleged in the Complaint, and irrelevant

24    because it is not properly limited in time or scope to the extent the “Relevant Time Period” exceeds

25    the applicable statute of limitations.

26

27

28
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 1                              RESPONSES AND OBJECTIONS TO
                      PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION
 2
               Subject to and without waiving the foregoing Objections and Definition Objections,
 3
      Everything Breaks specifically responds to the Requests as follows:
 4
               1.     Produce all non-attorney-client-privileged documents identified in or used to
 5
      research or draft responses to interrogatories in this case.
 6

 7           RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
      produce non-privileged documents in its possession, custody, and control that may be responsive to
 8    this Request under separate cover on or before November 28, 2023.

 9             The objections that apply to this Request are as follows:
10           Everything Breaks objects to this Requests to the extent it seeks to intrude upon the work
11    product doctrine and/or joint-defense privilege.

12             Everything Breaks objects to the phrase “used to research” as vague and ambiguous.

13             No responsive documents are being withheld on the basis of any asserted objections.
14
               2.     Produce all documents supporting or contradicting any affirmative defense made in any
15
      answer by you to any complaint in this case.
16

17           RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
      produce non-privileged documents in its possession, custody, and control that may be responsive to
18    this Request under separate cover on or before November 28, 2023.

19             The objections that apply to this Request are as follows:
20            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
21
              Everything Breaks objects to this Request to the extent it attempts to seek information
22    protected by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.
23           Everything Breaks objects to this Request as harassing, vague, not proportional to the needs of
      this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope and
24    attempts to seek information related to each of Everything Breaks’ eighteen (18) Affirmative
      Defenses.
25
              Everything Breaks objects to this Request to the extent it calls for a legal conclusion and/or
26    legal interpretation (e.g., “supporting or contradicting any affirmative defense”).
27             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all documents”).
28
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 1            Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
      likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
 2    asserted objections.

 3
               3.     Produce all documents related to Plaintiff, including, but not limited to, all documents
 4
      evidencing your relationship with Plaintiff or your investigation into outbound calls or text messages
 5
      made to Plaintiff.
 6
             RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
 7    produce non-privileged documents in its possession, custody, and control that may be responsive to
 8    this Request under separate cover on or before November 28, 2023.

 9             The objections that apply to this Request are as follows:

10            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
11

12            Everything Breaks objects to this Request to the extent it attempts to seek information protected
      by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.
13
               Everything Breaks objects to this Request as argumentative (e.g., “relationship with Plaintiff”).
14
             Everything Breaks objects to this Request to the extent it seeks documents not in Everything
15
      Breaks’ possession, custody, or control.
16
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
17    (e.g., “all documents”).

18            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs of
      this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
19
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
20    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
21    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
      Request does not seek to limit its scope to that alleged within the Complaint.
22

23            No responsive, non-privileged documents are being withheld on the basis of any asserted
      objections.
24

25             4.     Produce your internal do-not-call policy, including each version of the policy that was

26    in effect at any time during the relevant time period.

27

28
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 1           RESPONSE: Everything Breaks will produce non-privileged documents in its possession,
      custody, and control that may be responsive to this Request under separate cover on or before
 2    November 28, 2023.
 3
               5.     Produce documents sufficient to identify the telephone numbers on your internal do-
 4
      not- call list for the last four years and the calls made or text messages sent to those numbers after their
 5
      placement on your internal do-not-call list.
 6

 7           RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
      produce non-privileged documents in its possession, custody, and control that may be responsive to
 8    this Request under separate cover on or before November 28, 2023.
 9             The objections that apply to this Request are as follows:
10
              Everything Breaks objects to the definition of the term “You” as set forth more fully at
11    Definition Objection No. 1.

12            Everything Breaks objects to this Request as vague and ambiguous and to the extent it calls for
      a legal conclusion and/or legal interpretation (e.g., “sufficient to identify”).
13
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
14    of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
15    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
16    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
      Request does not seek to limit its scope to that alleged within the Complaint.
17
              Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
18    likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
      asserted objections.
19
               6.     Produce all documents relating to how you scrub telephone numbers against your
20
      internal do-not-call list and the National Do-Not-Call registry.
21

22           RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
      produce non-privileged documents in its possession, custody, and control that may be responsive to
23    this Request under separate cover on or before November 28, 2023.
24
               The objections that apply to this Request are as follows:
25
              Everything Breaks objects to the definition of the term “You” as set forth more fully at
26    Definition Objection No. 1.

27             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all documents”).
28
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 1             No responsive documents are being withheld on the basis of any asserted objections.
 2
               7.     Produce all documents relating to instructions you provide to your vendors that refer
 3
      or relate to scrubbing telephone numbers received by a vendor against your internal do-not-call list and
 4
      the National Do-Not-Call registry.
 5
             RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
 6
      produce non-privileged documents in its possession, custody, and control that may be responsive to
 7    this Request under separate cover on or before November 28, 2023.

 8             The objections that apply to this Request are as follows:
 9            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
10

11            Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
      Definition Objection No. 5.
12
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
13    (e.g., “all documents”).
14
               No responsive documents are being withheld on the basis of any asserted objections.
15

16             8.     Produce all documents relating to any failure by you, or a vendor, to abide by your

17    policies relating to the making of outbound calls or the sending of text messages.

18             RESPONSE: The objections that apply to this Request are as follows:

19            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
20

21            Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
      Definition Objection No. 5.
22
              Everything Breaks objects to this Request to the extent it attempts to seek information protected
23    by the attorney-client privilege and work product doctrine.
24
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs of
25    this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
26    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
27    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
28    Request does not seek to limit its scope to that alleged within the Complaint.
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 1            Everything Breaks objects to this Request as argumentative (e.g., “failure by you, or a vendor,
      to abide by your policies”).
 2

 3             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all documents”).
 4
              Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
 5    likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
      asserted objections.
 6

 7             9.     Produce all documents relating to the failure, alleged failure, or possible failure of your
 8    vendors to comply with any agreements, contracts, statements of work, policies or other instruction(s)
 9    related to outbound calls or text messages.
10
               RESPONSE: The objections that apply to this Request are as follows:
11
              Everything Breaks objects to the definition of the term “You” as set forth more fully at
12    Definition Objection No. 1.
13            Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
14    Definition Objection No. 5.

15            Everything Breaks objects to this Request to the extent it attempts to seek information
      protected by the attorney-client privilege and work product doctrine.
16
            Everything Breaks objects to the undefined term “other instruction(s)” as vague and
17    ambiguous.
18
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs of
19    this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
20    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
21    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
22    Request does not seek to limit its scope to that alleged within the Complaint.

23            Everything Breaks objects to this Request as argumentative (e.g., “failure, alleged failure, or
      possible failure of your vendors to comply with any agreements, contracts, statements of work, policies
24    or other instruction(s)”).
25
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
26    (e.g., “all documents”).

27

28
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 1            Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
      likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
 2    asserted objections.
 3
               10.    Produce all documents relating to complaints or do-not-call requests concerning
 4
      outbound calls or text messages, including, but not limited to, lists or databases containing complaints
 5
      about them, and information identifying the complainants. This request includes any complaints to you
 6
      by mail, email, live call, IVR, SMS, web form, social media, FCC, FTC, CFPB, state attorney general,
 7
      BBB or any other source.
 8

 9        RESPONSE: The objections that apply to this Request are as follows:

10            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
11

12            Everything Breaks objects to this Request to the extent it attempts to seek information
      protected by the attorney-client privilege and work product doctrine.
13
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs of
14    this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
15
      Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
16    purportedly registered on the National Do Not Call Registry, without prior express written consent.
      Thus, the Request should be limited to the allegations contained in the Complaint. However, the
17    Request does not seek to limit its scope to that alleged within the Complaint (e.g., “do-not-call requests,
      “text messages”).
18
            Everything Breaks objects to the undefined term “information identifying” as vague and
19
      ambiguous.
20
            Everything Breaks objects to this Request as overbroad and irrelevant on its face (e.g., “all
21    documents”).

22            Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
      likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
23    asserted objections.
24

25

26

27

28
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 1             11.    Produce all contracts or documents representing agreements with any vendor that

 2    contacted the Plaintiff or made outbound telemarketing calls on your behalf.

 3           RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
 4    produce non-privileged documents in its possession, custody, and control that may be responsive to
      this Request under separate cover on or before November 28, 2023.
 5
               The objections that apply to this Request are as follows:
 6
              Everything Breaks objects to the definition of the term “Telemarketing” as set forth more fully
 7
      at Definition Objection No. 4.
 8
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
 9    (e.g., “all contracts or documents”).

10             No responsive documents are being withheld on the basis of any asserted objections.

11
               12.    Produce all contracts or agreements between you and Otto.
12
               RESPONSE: Subject to the following objections, none.
13
               The objections that apply to this Request are as follows:
14

15             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all contracts or documents”).
16
               No responsive documents are being withheld on the basis of any asserted objections.
17

18             13.    Produce documents sufficient to identify the number of leads provided to you by Otto
19    during the relevant time period.
20
               RESPONSE: Subject to the following objections, none.
21
               The objections that apply to this Request are as follows:
22
              Everything Breaks objects to this Request as vague and ambiguous and to the extent it calls for
23    a legal conclusion and/or legal interpretation (e.g., “sufficient to identify”).
24
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
25    of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
26    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
27    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
28    Request does not seek to limit its scope to that alleged within the Complaint (e.g., “number of leads”).
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 1             No responsive documents are being withheld on the basis of any asserted objections.
 2
               14.     Produce all lead information provided to you by Otto during the relevant time period,
 3
      including but not limited to the full name, address, email, phone number and any other information
 4
      associated with each individual lead.
 5

 6             RESPONSE: Subject to the following objections, none.

 7             The objections that apply to this Request are as follows:

 8            Everything Breaks objects to the phrase “any other information associated with each individual
      lead” as vague and ambiguous.
 9

10            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
11    frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
      Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
12    purportedly registered on the National Do Not Call Registry, without prior express written consent.
      Thus, the Request should be limited to the allegations contained in the Complaint. However, the
13
      Request does not seek to limit its scope to that alleged within the Complaint (e.g., “number of leads”).
14             No responsive documents are being withheld on the basis of any asserted objections.
15
               15.     Produce all communications with Otto regarding the acquisition of leads, any
16
      agreement to provide leads, logistics of providing leads, lead quality, marketing to leads and how Otto
17
      obtains leads.
18

19             RESPONSE: Subject to the following objections, none.

20             The objections that apply to this Request are as follows:
21
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
22    of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
      frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
23    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
24    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
      Request does not seek to limit its scope to that alleged within the Complaint (e.g., “number of leads”).
25

26             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all communications”).
27
               No responsive documents are being withheld on the basis of any asserted objections.
28
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 1             16.    Produce all communications with any vendor that sent the text messages or made the

 2    calls at issue in this case.

 3             RESPONSE: The objections that apply to this Request are as follows:
 4
              Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
 5    Definition Objection No. 5.

 6            Everything Breaks objects to this Request to the extent it attempts to seek information
      protected by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.
 7

 8            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
 9    frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
      Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
10    purportedly registered on the National Do Not Call Registry, without prior express written consent.
      Thus, the Request should be limited to the allegations contained in the Complaint. However, the
11
      Request does not seek to limit its scope to that alleged within the Complaint.
12
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
13    (e.g., “all communications”).
14            Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
      likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
15
      asserted objections.
16

17             17.    Produce all internal communications at your company regarding any vendor that
18    contacted the Plaintiff or made outbound telemarketing calls or text messages on your behalf.
19
               RESPONSE: The objections that apply to this Request are as follows:
20
              Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
21    Definition Objection No. 5.
22
              Everything Breaks objects to this Request to the extent it attempts to seek information
23    protected by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.

24            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
25    frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
26    Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
      purportedly registered on the National Do Not Call Registry, without prior express written consent.
27    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
      Request does not seek to limit its scope to that alleged within the Complaint.
28
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 1             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all internal communications”).
 2

 3            Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
      likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
 4    asserted objections.

 5
               18.    Produce all documents relating to insurance coverage of the acts alleged by Plaintiff,
 6
      including, but not limited to, all potentially applicable policies issued by any insurer and all
 7
      communications with any such insurers, including, but not limited to, reservation-of-rights letters,
 8
      regardless of whether or not such coverage purports to exclude the acts alleged in this matter and
 9
      regardless of whether or not such insurers have declined coverage in this matter.
10
               RESPONSE: Subject to the following objections, none.
11

12             The objections that apply to this Request are as follows:

13          Everything Breaks objects to this Request as overbroad and irrelevant on its face (e.g., “all
      documents”).
14
              Everything Breaks objects to this Request as vague and internally inconsistent in that the
15
      Request seeks documents “relating to insurance coverage” that includes “potentially applicable
16    policies,” which, by definition, includes policies that do not cover “the acts alleged by Plaintiff.”

17            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope.
18
               No responsive documents are being withheld on the basis of any asserted objections.
19

20             19.    Produce all indemnification agreements under which a third party may be responsible
21    for satisfying all or part of a judgment that may be entered against you in this action, and all
22    communications with those third parties.
23
               RESPONSE: Subject to the following objections, none.
24
              Everything Breaks objects to the definition of the term “You” as set forth more fully at
25    Definition Objection No. 1.
26
              Everything Breaks objects to this Request to the extent it attempts to seek information
27    protected by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.

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 1            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope.
 2

 3            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope. Here,
 4    Plaintiff seeks “all communications” with certain third parties without regard to the subject matter of
      such communications.
 5
              Everything Breaks objects to this Request to the extent it calls for a legal conclusion and/or
 6    legal interpretation (e.g., “all indemnification agreements”).
 7             Everything Breaks objects to this Request as overbroad and irrelevant on its face
 8    (e.g., “all communications”).

 9            No responsive, non-privileged documents are being withheld on the basis of any asserted
      objections.
10

11             20.      Produce all documents related to policies for compliance with the TCPA or the FCC’s

12    regulations thereunder and all documents necessary to construct a timeline of when each policy was

13    in force. This request specifically includes, but is not limited to, policies related to the following:

14                   a. compliance with the TCPA, including, but not limited to the rules, regulations,

15                      opinions, advisories, comments or filings of the Federal Communications Commission

16                      that relate to the TCPA or 47 C.F.R. § 64.1200;

17                   b. obtaining or verifying prior express consent; and

18                   c. complying with E-SIGN Act, 15 U.S.C. §§ 7001 et seq.

19           RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
20    produce non-privileged documents in its possession, custody, and control that may be responsive to
      this Request under separate cover on or before November 28, 2023.
21
               The objections that apply to this Request are as follows:
22
              Everything Breaks objects to this Request to the extent it attempts to seek information
23
      protected by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.
24
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
25    of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope.

26            Everything Breaks objects to this Request to the extent it calls for a legal conclusion and/or
      legal interpretation.
27

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 1             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “all documents”).
 2
              No responsive, non-privileged documents are being withheld on the basis of any asserted
 3    objections.

 4
               21.      Produce the call detail records and all documents containing any of the following
 5
      information for each outbound telemarketing call or text message sent by you or your vendors to a
 6
      lead obtained from Otto:
 7
                     a. the date and time;
 8
                     b. the caller ID;
 9
                     c. the content of the text message or content/purpose of the call;
10
                     d. the result;
11
                     e. identifying information for the recipient;
12
                     f. whether the recipient was on your internal do-not-call list at the time of the calls; and
13
                     g. any other information stored by the call detail records
14
      NOTE: If You cannot sort information for each outbound telemarketing call or text message by
15
      lead, please produce all of the call detail records.
16
             RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
17
      produce non-privileged documents in its possession, custody, and control that may be responsive to
18    this Request under separate cover on or before November 28, 2023.

19             The objections that apply to this Request are as follows:
20            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
21

22            Everything Breaks objects to the definition of the term “Telemarketing” as set forth more fully
      at Definition Objection No. 4.
23
              Everything Breaks objects to the definition of the term “Vendor” as set forth more fully at
24    Definition Objection No. 5.
25
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
26    (e.g., “all documents”).

27            No responsive, non-privileged documents are being withheld on the basis of any asserted
      objections.
28
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 1             22.     Produce all communications with any third party concerning this litigation, other than

 2    your attorney.

 3             RESPONSE: The objections that apply to this Request are as follows:

 4            Everything Breaks objects to the definition of the term “You” as set forth more fully at
 5    Definition Objection No. 1.

 6            Everything Breaks objects to this Request to the extent it attempts to seek information protected
      by the attorney-client privilege, work product doctrine, and/or joint-defense privilege.
 7
              Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
 8
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope. Here,
 9    Plaintiff seeks “all communications” with certain third parties without regard to the subject matter of
      such communications.
10
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
11    (e.g., “all communications”).

12            Given, at a minimum, the overbroad scope of the Request, Everything Breaks believes it is
      likely that responsive, non-privileged documents are being withheld on the basis of the foregoing
13    asserted objections.

14
               23.     To the extent Defendant asserts that Defendant obtained consent or permission to
15
      contact Plaintiff or putative class members based on a visit to a website, produce documents that
16
      identify those website(s) and the specific page(s) on those website(s) that you claim constitute consent
17
      or permission or are related to the specific page(s) on those website(s) that you claim constitute consent
18
      or permission.
19
             RESPONSE: Subject to and without waiving the following objections, Everything Breaks will
20    produce non-privileged documents in its possession, custody, and control that may be responsive to
      this Request under separate cover on or before November 28, 2023.
21

22             The objections that apply to this Request are as follows:

23            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
24
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
25    (e.g., “all documents”).
26            No responsive, non-privileged documents are being withheld on the basis of any asserted
      objections.
27

28
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 1              24.     For any website identified in response to the prior request, produce all access logs and

 2    error logs during the day you assert that Plaintiff or putative class members visited that website.

 3              RESPONSE: Subject to the following objections, none.
 4
                The objections that apply to this Request are as follows:
 5
              Everything Breaks objects to the definition of the term “You” as set forth more fully at
 6    Definition Objection No. 1.
 7
              Everything Breaks objects to this Request to the extent it demands Everything Breaks to create
 8    documents that do not exist in contravention of well-established law. See, e.g., Taylor v. Kilmer, 18
      CV 7403, 2020 WL 606781, at *3 (N.D. Ill. Feb. 7, 2020); A & R Body Specialty & Collision Works,
 9    Inc. v. Progressive Cas. Ins. Co., 3:07CV929 WWE, 2014 WL 5859024, at *6 (D. Conn. Nov. 10,
      2014); Georgacarakos v. Wiley, 07-CV-01712-MSK-MEH, 2009 WL 924434, at *2 (D. Colo. Apr. 3,
10    2009); Insituform Techs., Inc. v. Cat Contracting, Inc., 168 F.R.D. 630, 633 (N.D. Ill. 1996).
11
               Everything Breaks objects to this Request as overbroad and irrelevant on its face
12    (e.g., “all access logs and error logs”).

13              No responsive documents are being withheld on the basis of any asserted objections.
14
          26.      Produce any communications (internal or external) regarding your conversion rate or
15
     successful sale rate of leads provided by Otto. (For clarity and illustration purposes, if you called 100
16
     leads and sold to 3 leads, your “conversion rate” or “successful sale rate” would be 3/100 = 3%.)
17
                RESPONSE: Subject to the following objections, none.
18

19              The objections that apply to this Request are as follows:

20            Everything Breaks objects to the definition of the term “You” as set forth more fully at
      Definition Objection No. 1.
21

22            Everything Breaks objects to this Request to the extent it demands Everything Breaks to create
      documents that do not exist in contravention of well-established law. See, e.g., Taylor v. Kilmer, 18
23    CV 7403, 2020 WL 606781, at *3 (N.D. Ill. Feb. 7, 2020); A & R Body Specialty & Collision Works,
      Inc. v. Progressive Cas. Ins. Co., 3:07CV929 WWE, 2014 WL 5859024, at *6 (D. Conn. Nov. 10,
24    2014); Georgacarakos v. Wiley, 07-CV-01712-MSK-MEH, 2009 WL 924434, at *2 (D. Colo. Apr. 3,
      2009); Insituform Techs., Inc. v. Cat Contracting, Inc., 168 F.R.D. 630, 633 (N.D. Ill. 1996).
25

26            Everything Breaks objects to this Request as vague, irrelevant, not proportional to the needs
      of this Action, overbroad, and unduly burdensome in that it is not reasonably limited in scope or time
27    frame. Plaintiff filed a Complaint alleging violations of the TCPA by placing telemarketing calls to
      Plaintiff’s and the class’s residential telephone numbers, which residential telephone numbers were
28    purportedly registered on the National Do Not Call Registry, without prior express written consent.
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 1    Thus, the Request should be limited to the allegations contained in the Complaint. However, the
      Request does not seek to limit its scope to that alleged within the Complaint.
 2

 3             Everything Breaks objects to this Request as overbroad and irrelevant on its face
      (e.g., “conversion rate”).
 4
                No responsive documents are being withheld on the basis of any asserted objections.
 5

 6        27.      Produce any documents that refer to, relate to, or are sufficient to determine your conversion

 7   rate or successful sale rate of leads provided by Otto.

 8                 RESPONSE: See Responses and Objections to Requests No. 26.
 9
                Dated: October 26, 2023.               Respectfully submitted,
10
                                                               PHILIP SILVESTRI
11                                                             Nv. Bar No. 11276
                                                               Email: philip.silvestri@gmlaw.com
12
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13                                                             3993 Howard Hughes Parkway, Suite 400
                                                               Las Vegas, NV 89159
14                                                             Tel: (702) 978-4249

15                                                     By:     /s/ Jamey R. Campellone
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21                                                             Fax: (954) 333-4027

22                                                             Attorneys for Everything Breaks, Inc.

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 1                                     CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on this 26th day of October 2023, a copy of the foregoing
 3    Responses and Objections to Plaintiff’s First Set of Requests for Production of Documents was served
      via email on all attorneys of record including: Craig K. Perry, Esq., 2300 W. Sahara Ave., Suite 800,
 4    Las Vegas, Nevada 89102 (cperry@craigperry.com), Chris R. Miltenberger, Esq., The Law Office
      of Chris R. Miltenberger, PLLC, 1360 N. White Chapel, Suite 200, Southlake, Texas 76092
 5    (chris@crmlawpractice.com), Eric H. Weitz, Esq. and Max S. Morgan, Esq., The Weitz Firm, LLC,
      1515 Market Street, #1100, Philadelphia, PA 19102 (eric.weitz@theweitzfirm.com,
 6    max.morgan@theweitzfirm.com), Attorneys for Plaintiff.
 7
                                                  By:     /s/ Jamey R. Campellone
 8                                                        JAMEY R. CAMPELLONE

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